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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: MIDLAND CREDIT                            Case No. 11-md-2286-MMA (MDD)
     MANAGEMENT, INC., TELEPHONE
12
     CONSUMER PROTECTION ACT                          ORDER SUGGESTING REMAND
13   LITIGATION
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19         In this multidistrict litigation (“MDL”), the motion for summary judgment deadline
20   has lapsed without a party filing such motion and there does not appear to be any pending
21   common discovery to be produced. See Doc. No. 827. Accordingly, the Court sua
22   sponte finds that coordinated or consolidated pretrial proceedings have been exhausted.
23   For the reasons set forth below and pursuant to United States Judicial Panel on
24   Multidistrict Litigation (“Panel or JPML”) Rule 10.1(b)(i), the Court respectfully
25   SUGGESTS that the Panel REMAND all member cases within this MDL to their
26   originating transferor districts.
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 1                                             I. BACKGROUND
 2          The member Plaintiffs in this MDL generally allege that Defendants Midland
 3   Funding LLC, Midland Credit Management, Inc., and Encore Capital Group, Inc.
 4   (collectively, “Defendants”), violated the rights of plaintiffs and other unnamed class
 5   members by illegally making debt collection calls to them, through use of an automated
 6   dialing system, on their cell phones without the debtors’ consent in violation of the
 7   Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).1 See In re:
 8   Midland Credit Mgmt., Inc., Tel. Consumer Prot. Act Litig., 818 F. Supp. 2d 1377 (U.S.
 9   Jud. Pan. Mult. Lit. 2011); see also Doc. No. 1.2 Originating in 2011, the MDL was
10   initially comprised of four member actions, all purported class actions. See Doc. No. 1 at
11   3. Two actions were originally filed in the Southern District of California: Robinson v.
12   Midland Funding, LLC, No. 10-cv-02261 (S.D. Cal.) and Tovar v. Midland Credit
13   Management, No. 10-cv-02600 (S.D. Cal.). The other two actions were filed in the
14   Northern District of Illinois: Martin v. Midland Funding, LLC, No. 11-cv-03104 (N.D.
15   Ill.) and Scardina v. Midland Credit Management, Inc., No. 11-cv-03149 (N.D. Ill.). See
16   id. This MDL now consists of approximately sixty-five3 member actions, transferred
17   from district courts throughout the United States.
18          In December 2016, the Court entered an amended order granting final approval to
19   the nationwide class-action settlement between then-lead Plaintiffs, class members, and
20   Defendants—for a class period from November 2, 2006 through August 31, 2014. See
21   Doc. No. 434. The settlement resolved only eight member cases. See id. at 25. Several
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       The TCPA prohibits making “any call . . . using any automatic telephone dialing system . . . to any
24   telephone number assigned to a . . . cellular telephone service.” 47 U.S.C. § 227(b)(1)(A)(iii).
25   2
      All citations refer to the pagination assigned by the CM/ECF system. All docket references refer to the
26   docket of this action unless otherwise noted.

27   3
      This number does not include all of pro se Plaintiff David E. Mack’s 106 related member cases. The
     Court previously sua sponte consolidated his 106 member cases under one case number, 15-cv-723-
28   MMA (MDD). See Doc. No. 572.

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 1   member Plaintiffs opted out of the class and other member Plaintiffs alleged receiving
 2   autodialed telephone calls from Defendants on or after September 1, 2014.
 3         In October 2017, Plaintiffs Curtis Bentley and William Baker filed a consolidated
 4   amended complaint with class allegations involving calls after September 1, 2014. See
 5   Doc. No. 538. Defendants answered the consolidated amended complaint in December
 6   2017. See Doc. No. 549. The Court struck Fair Debt Collection Practices Act claims
 7   from the Consolidated Amended Complaint, Doc. No. 569, and stayed “all non-TCPA
 8   causes of action in all member cases pending remand of those cases to their original
 9   districts or resolution of this MDL,” Doc. No. 571 at 2.
10         In January 2018, the Court ordered Defendants to respond to every member case
11   complaint to initiate discovery. See Doc. No. 562. Further, at this Court’s suggestion,
12   the Panel suspended JPML Rule 7.1(a) to bar further tag along cases from being
13   transferred into the MDL. See JPML MDL No. 2286, Doc. No. 1074. Following an
14   initial case management conference in April 2018, see Doc. No. 587, the Court ordered
15   the parties to complete their Rule 26(f) conference and submit their Rule 26(f)(3)
16   discovery plan, see Doc. No. 591. In August 2018, the parties filed a joint motion to
17   implement a plaintiff questionnaire, a protective order, and to provide for certain
18   preliminary discovery. See Doc. No. 603. The Magistrate Judge ordered any objecting
19   Plaintiff to file objections to the questionnaire, see Doc. No. 604, and no Plaintiff
20   objected, see Doc. No. 608 at 1. In September 2018, the Magistrate Judge issued an
21   order granting the joint motion implementing the questionnaire process and production
22   from Defendants. See id.
23         In December 2018, the Court permitted lead Plaintiffs Bentley and Baker to file a
24   Second Consolidated Complaint and to add Emir Fetai as an additional lead Plaintiff. See
25   Doc. Nos. 650, 651. In January 2019, the Court ordered lead Plaintiffs Baker and
26   Bentley to arbitration and stayed their individual member cases. See Doc. No. 669 at 17–
27   18. However, the Court allowed Fetai and his putative class to proceed. See id. at 18.
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 1         In June 2019, the Magistrate Judge found that sufficient time had passed for the
 2   Plaintiff questionnaire process to be completed and moved to the deposition phase of
 3   discovery. See Doc. No. 689 at 1. The Magistrate Judge ordered the parties to file a joint
 4   status report regarding discovery and expected “confirmation that the questionnaire and
 5   responsive discovery process [was] complete.” Id. at 1. He also ordered the parties to
 6   meet and confer regarding a joint discovery plan and a proposed scheduling order for this
 7   phase of discovery, a summary judgment motion deadline, and class certification motion
 8   deadline. See id. at 2.
 9         On September 4, 2019 and following the filing of the status reports, the Magistrate
10   Judge issued an order setting discovery deadlines and limitations on discovery. See Doc.
11   No. 702. Among other things, the order provided for the deposition of lead Plaintiff in
12   the class action by October 25, 2019; the Rule 30(b)(6) deposition of Defendants by lead
13   Plaintiff regarding calling technologies and practices after September 1, 2014, by
14   November 22, 2019; the issuance of subpoenas to cellular carriers by individual
15   Plaintiffs; certain meet and confer requirements regarding other depositions pertinent to
16   the post-September 1, 2014 Plaintiffs; and depositions and disputes regarding pre-
17   September 1, 2014 Plaintiffs. See id. at 8–9. Additionally, to address the lack of a
18   procedure for Plaintiffs having concerns regarding Plaintiff-specific discovery provided
19   by Defendants, the Magistrate Judge ordered Defendants to file a report containing the
20   list of member cases alleging calls before September 1, 2014; indicating the counsel
21   responsible for responding to individual Plaintiffs to discuss discovery concerns and
22   settlement; and indicating the counsel responsible for responding to individual Plaintiffs
23   regarding “[P]laintiff-specific discovery provided by Defendants during the questionnaire
24   process.” Id. at 7. The Court ordered Plaintiffs who remained dissatisfied with
25   Defendants’ production to bring the discovery dispute by December 2, 2019 and further
26   ordered the parties to meet and confer “regarding calling technologies and practices
27   during relevant time periods preceding September 1, 2014.” Id. at 9. Finally, the court
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 1   provided that “[a]ny motion for class certification and any motion for summary judgment
 2   must be filed no later than January 24, 2020.” Id.
 3         On December 16, 2019, the Magistrate Judge issued two discovery orders. See
 4   Doc. Nos. 725, 726. In the first order, Plaintiffs Nicholas Martin and Jeremy Johnson,
 5   sought to depose Defendants regarding calling practices and policies prior to September
 6   1, 2014. See Doc. No. 725 at 1. The Magistrate Judge granted the motion; limited the
 7   deposition to the periods January 1, 2008 through November 24, 2008, and January 1,
 8   2013 through March 1, 2014; and ordered that the deposition occur no later than January
 9   31, 2020—provided that Plaintiffs’ counsel made arrangements for other relevant
10   Plaintiffs to attend in person or remotely and suggest questions to counsel taking the
11   deposition. See id. at 2–3. Plaintiffs took the deposition on January 28, 2020. See Doc.
12   No. 803 at 5. In the second order, lead Plaintiff Fetai and fourteen fellow member
13   Plaintiffs sought to depose two third parties—Alfred Collins and Noble Systems—and
14   Defendants regarding calling technologies and practices for calls made prior to
15   September 4, 2014. See Doc. Nos. 715 at 2, 7; Doc. No 726 at 1. The Magistrate Judge
16   granted the order. See Doc. No. 726. The court allowed for the deposition of Defendants
17   as provided in the first order. See id. at 5–7. The Court further ordered that “corporate
18   deposition of Noble Systems Corporation must be obtained no later than January 31,
19   2020 and the deposition of Mr. Collins must be obtained no later than February 14,
20   2020.” Id. at 6. In addition to setting expert discovery deadlines, the Magistrate Judge
21   provided that “[a]ny motion for class certification and any motion for summary judgment
22   must be filed no later than June 12, 2020.” Id. at 7. However, “[t]he depositions of
23   Noble Systems and Mr. Collins did not proceed[,] and no party asked that the dates for
24   those depositions be extended.” Doc. No. 811 at 6.
25         On January 7, 2020, Plaintiffs Martin and Johnson and Defendants stipulated that
26   the deposition of Defendants regarding pre-September 1, 2014 calling practices and
27   policies would not be limited as provided in the court’s order (Doc. No. 725) but would
28   cover the entire pre-September 1, 2014 period. See Doc. No. 745. On January 31, 2020,

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 1   the Magistrate Judge granted in part Plaintiff Arora’s motion to compel additional
 2   production from Defendants regarding call recording policies and proceedings. See Doc.
 3   No. 754 at 3, 4; see also Doc. Nos. 737, 741, 753.
 4         On April 27, 2020, the Magistrate Judge granted Plaintiffs Martin and Johnson and
 5   Defendants’ joint motion stating their agreement that certain written discovery requests
 6   were deemed served on Defendants, who agreed to accept service while reserving their
 7   rights to object under the Federal Rules of Civil Procedure. See Doc. No. 773 at 3; Doc.
 8   No. 776 at 2.
 9         No party filed a motion for class certification or motion for summary judgment.
10   No party moved to extend the time to file such motions. However, on June 12, 2020,
11   lead Plaintiff Fetai and Defendants filed a joint notice of settlement. See Doc. No. 780.
12   On June 29, 2020, the Court held a telephonic status conference to determine the status of
13   the MDL as to the remaining member cases. See Doc. Nos. 782, 789. After the status
14   conference, the Magistrate Judge ordered that “any discovery dispute regarding the April
15   27, 2020 discovery order (Doc. No. 776) be brought to the Court’s attention on or before
16   July 15, 2020” and “[a]ny request for additional discovery must also be filed on or before
17   July 15, 2020.” Doc. No. 793 at 2.
18         On July 2, 2020, in response to a joint motion to dismiss, the Court dismissed
19   Bentley’s and Baker’s member cases. See Doc. No. 795. In the same order, the Court
20   also dismissed Fetai’s claims based on lack of jurisdiction. See id.
21         Meanwhile, Arora sought leave to obtain discovery and take depositions. See Doc.
22   No. 790. Specifically, Arora sought “to take a deposition of Noble Systems regarding
23   Noble dialers utilized by Defendants prior to Sept 1, 2014 and, if necessary, also
24   propound written discovery on it.” Id. at 2. Martin, Johnson, and other member
25   Plaintiffs then sought scheduling order changes and further discovery. First, they moved
26   to amend the scheduling order to extend fact discovery, expert discovery, Daubert
27   motion, and dispositive motion deadlines. See Doc. No. 801. Second, they and
28   Defendants filed a joint motion to determine a discovery dispute. See Doc. No. 802.

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 1   Plaintiffs sought leave to compel further responses to interrogatories and requests for
 2   production. See id. Third, Plaintiffs also sought “leave to take the Fed. R. Civ. P.
 3   30(b)(6) depositions of Defendants’ dialer providers Noble, Aspect (f/k/a Davox) and
 4   Livevox, Midland employees involved with its dialers Mike Aronson and Kevin
 5   McLaughlin, whistleblower Alfred Collins, and individuals listed in Collins’ complaint
 6   against Midland.” Doc. No. 803 at 4.
 7             The Magistrate Judge ruled on these motions in two orders. See Doc. Nos. 811,
 8   812. In the first order, the Magistrate Judge denied Plaintiffs’ motion to amend the
 9   scheduling order because Plaintiffs “were not diligent in pursuing fact or expert
10   discovery, in seeking extensions of deadlines or in seeking clarification of the Court’s
11   Orders regarding discovery.” Doc. No. 811 at 8. As to the summary judgment deadline
12   specifically, the Magistrate Judge found that “Plaintiffs have not demonstrated good
13   cause to extend the summary judgment deadline.” Id. at 9. “In light of the Court’s ruling
14   declining to extend the discovery deadline,” the Magistrate Judge denied Arora’s and
15   Martin, Johnson, and other member Plaintiffs’ motions requesting leave to take
16   depositions and discovery of third parties. Id. In the second order, the Magistrate Judge
17   denied Plaintiffs’ motion to compel further responses to the interrogatories and requests
18   for production but ordered Defendants to provide responsive information to a few
19   requests for production. See Doc. No. 812 at 14.
20             After the Magistrate Judge issued these two orders, member Plaintiffs filed two
21   timely objections. See Doc. Nos. 815, 821; see also Doc. No. 820. Arora objected to the
22   Magistrate Judge’s “Order (Doc 811) denying Plaintiff’s requests to take deposition and
23   discovery of Noble Systems (Doc 790).” Doc. No. 815 at 1. Martin, Johnson, and
24   several others4 (collectively, “Martin, et al.”) objected to the Magistrate Judge’s order
25   (Doc. No. 812) denying Plaintiffs’ request to compel written discovery. See Doc. No.
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         The full list of member Plaintiffs that join the motion is located at Doc. No. 821 at 13–16.

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 1   821 at 3, 6, 13. Specifically, Martin, et al. objected to the Magistrate Judge denying their
 2   motion to compel requests for production numbered 14, 18, and 19. See id. The Court
 3   overruled both objections. See Doc. No. 827. The Court now finds and respectfully
 4   suggests that remand of the remaining member cases is appropriate.
 5                                      II. LEGAL STANDARD
 6         Pursuant to 28 U.S.C. § 1407,
 7
 8         [e]ach action so transferred shall be remanded by the panel at or before the
           conclusion of such pretrial proceedings to the district from which it was
 9
           transferred unless it shall have been previously terminated: Provided,
10         however, That the panel may separate any claim, cross-claim, counter-claim,
           or third-party claim and remand any of such claims before the remainder of
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           the action is remanded.
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13   28 U.S.C. § 1407(a). The same statute permits the Panel to “prescribe rules for the
14   conduct of its business not inconsistent with Acts of Congress and the Federal Rules of
15   Civil Procedure.” Id. § 1407(f). The Rules of Procedure of the United States Judicial
16   Panel on Multidistrict Litigation provide such additional procedural details:
17
18         (b) Initiation of Remand. Typically, the transferee judge recommends
           remand of an action, or a part of it, to the transferor court at any time by
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           filing a suggestion of remand with the Panel. However, the Panel may
20         remand an action or any separable claim, cross-claim, counterclaim or third-
           party claim within it, upon
21
22                (i) the transferee court’s suggestion of remand,
                  (ii) the Panel’s own initiative by entry of an order to show cause, a
23
                  conditional remand order or other appropriate order, or
24                (iii) motion of any party.
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26   J.P.M.L. R. 10.1(b) (emphasis added).
27         “In considering the question of remand, the Panel has consistently given great
28   weight to the transferee judge’s determination that remand of a particular action at a

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 1   particular time is appropriate because the transferee judge, after all, supervises the day-to-
 2   day pretrial proceedings.” In re: Columbia/HCA Healthcare Corp. Qui Tam Litig. (No.
 3   II), 560 F. Supp. 2d 1349, 1350 (U.S. Jud. Pan. Mult. Lit. 2008) (quoting In re Holiday
 4   Magic Sec. & Antitrust Litig., 433 F. Supp. 1125, 1126 (J.P.M.L. 1977)). When
 5   suggesting remand, transferee courts apply the same guidelines the Panel itself would
 6   apply when deciding whether to order remand. In re Bridgestone/Firestone, Inc., 128 F.
 7   Supp. 2d 1196, 1197 (S.D. Ind. 2001). “Remand is inappropriate . . . when continued
 8   consolidation will ‘eliminate duplicative discovery, prevent inconsistent pretrial rulings,
 9   and conserve the resources of the parties, their counsel and the judiciary.’” In re Silica
10   Prod. Liab. Litig., 398 F. Supp. 2d 563, 668 (S.D. Tex. 2005) (quoting In re Heritage
11   Bonds Litig., 217 F. Supp. 2d 1369, 1370 (J.P.M.L. 2002)). “By contrast, the Panel has
12   discretion to remand when everything that remains to be done is case-specific.” Id.
13                                            III. DISCUSSION
14          The deadline for filing a pretrial dispositive motion has passed. Several member
15   Plaintiffs moved to amend the deadline after it passed. See Doc. No.801. However, the
16   Magistrate Judge denied the motion, and Plaintiffs did not object on the issue of the
17   dispositive motion deadline. See Doc. No. 811. Further, there is no outstanding common
18   discovery remaining to be completed for the purposes of this MDL. Plaintiffs Arora and
19   Martin, et al. objected to several of the Magistrate Judge’s orders regarding further
20   discovery. See Doc. Nos. 815, 821. The Court overruled these objections. See Doc. No.
21   827.
22          Given that the time for filing pretrial dispositive motions has passed and there does
23   not appear to be any pending discovery to be produced for the purpose of this MDL,
24   pretrial proceedings—to the extent such proceedings are common as to all member
25   cases—are complete.5 Because “pretrial proceedings are now complete, remand is
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      The Court makes no findings and expresses no opinion as to whether any further pretrial proceedings
28   are necessary or appropriate in any individual member case. The Court suggests remand sua sponte

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 1   obligatory.” In re Cathode Ray Tube (CRT) Antitrust Litig., No. 07-cv-05944-JST, 2017
 2   WL 8676440, at *1 (N.D. Cal. Apr. 5, 2017); see also 28 U.S.C. § 1407(a) (noting that
 3   member cases “shall” be remand “at or before the conclusion of such pretrial
 4   proceedings”); Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 35
 5   (1998) (“The Panel’s instruction comes in terms of the mandatory ‘shall’ which normally
 6   creates an obligation impervious to judicial discretion.”). The Court finds that any
 7   remaining discovery, especially any outstanding Plaintiff-specific discovery, can and
 8   should be achieved in the transferor courts. Given the current procedural standing of this
 9   MDL and the fact this MDL has continued since 2011, the Court finds that the just and
10   efficient litigation of the member cases can only be continued in their original transferor
11   courts. 6 Accordingly, the Court finds remand appropriate.
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     after carefully inquiring what remains to be done in this MDL that may be relevant to all member cases.
14   After no party filed a motion for summary judgment by the June 12, 2020 deadline, the Court promptly
     held a status conference on June 18, 2020 to determine the “current status of this MDL as to the
15   remaining member cases.” Doc. No. 782 at 1; see also Doc. No. 789. In particular, the Court generally
     sought to determine “whether there [were] any other pretrial matters requiring the attention of the Court”
16   and whether the Court should suggest remand. Doc. No. 782 at 1–2. After member Plaintiffs moved to
17   amend scheduling deadlines and compel discovery, the Magistrate Judge denied the motions—although
     he did order Defendants to provide the responsive information they agreed to produce regarding a few
18   requests for production. See Doc. No. 811; Doc. No. 812. Then, after several Plaintiffs objected, the
     Court overruled the objections. See Doc. No. 827.
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     6
       Additionally, the Court otherwise finds that a MDL is not the most appropriate vehicle for adjudicating
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     pretrial issues in TCPA cases—as seen in the recent trend of the Panel denying centralization of TCPA
21   actions. See, e.g., In re United Collection Bureau, Inc., Tel. Consumer Prot. Act (TCPA) Litig., 273 F.
     Supp. 3d 1364–65, 1365 (U.S. Jud. Pan. Mult. Lit. 2017) (“These factual issues, while common, appear
22   to be relatively straightforward, and discovery is unlikely to be unusually burdensome or time-
     consuming. In contrast, the amount of individualized discovery into such matters as the number of calls
23   each plaintiff received, the process and documentation involved in the obtaining (or revocation) of
     consent, and the timing and circumstances thereof seems likely to be quite significant.”); In re Kohl’s
24   Tel. Consumer Prot. Act (TCPA) Litig., 220 F. Supp. 3d 1363, 1364 (U.S. Jud. Pan. Mult. Lit. 2016)
25   (“At least with respect to those actions, factual issues encompass defendants’ practices, policies, and
     procedures with respect to making debt collection calls and obtaining and recording recipients’ consent
26   (and any revocation thereof), as well as the nature of the dialing system or systems used. But these
     issues, while common, appear to be relatively straightforward, and discovery is unlikely to be unusually
27   burdensome or time-consuming. In contrast, the amount of individualized discovery into such matters
     as the number of calls each plaintiff received, the process and documentation involving in obtaining that
28   plaintiff’s consent, and the timing and circumstances surrounding revocation seems likely to be quite

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 1            Upon remand and for the benefit of the transferor courts, the Court recommends
 2   that the transferor courts set status conferences to determine whether settlement is
 3   appropriate and, if not, to determine whether Plaintiff-specific discovery needs to be
 4   completed and to set a dispositive motion deadline for Plaintiff-specific issues that can be
 5   adjudicated prior to trial.
 6                                              IV. CONCLUSION
 7            For the foregoing reasons and pursuant to Panel Rule 10.1(b)(i), the Court
 8   respectfully SUGGESTS that the Panel REMAND all remaining member cases, which
 9   are listed below. The Court DIRECTS the Clerk of Court to file this Order on the docket
10   of 11-md-2286-MMA (MDD). The Court further DIRECTS the Clerk of Court to
11   forward a certified copy of this Order to the United States Judicial Panel on Multidistrict
12   Litigation. The member cases are as follows7:
13       1.    Martin v. Midland Funding, LLC, 11-cv-2368-MMA (MDD)
14       2.    Goetz v. Midland Credit Management, Inc., 13-cv-1478-MMA (MDD)
15       3.    Ferdarko v. Midland Credit Management, Inc., 13-cv-1517-MMA (MDD)
16       4.    Manasse v. Midland Funding LLC, 13-cv-1519-MMA (MDD)
17       5.    Doherty v. Midland Credit Management, Inc., 13-cv-2010-MMA (MDD)
18       6.    Roy v. Midland Credit Management, Inc., 13-cv-2882-MMA (MDD)
19       7.    Akers v. Midland Funding, LLC, 14-cv-240-MMA (MDD)
20
21
22   significant.”); In re: Uber Techs., Inc., Tel. Consumer Prot. Act (TCPA) Litig., 247 F. Supp. 3d 1386,
     1387 (U.S. Jud. Pan. Mult. Lit. 2016) (“Although the actions appear to share some factual questions
23   relating to allegations that Uber violated the TCPA by sending unsolicited text messages to plaintiffs,
     the record indicates that several actions present significant individualized factual issues concerning the
24   issue of consent and the applicability of allegedly mandatory arbitration agreements to certain
25   plaintiffs.” (footnote omitted)).

26   7
       This list does not include the two member cases that originated in this district and, thus, do not require
     formal remand by the Panel: Prows v. Midland Funding LLC, 13-cv-800-MMA (MDD) and
27   Gazanchiyants v. Midland Credit Management, Inc., 15-cv-2375-MMA (MDD). See JPML MDL No.
     2286, Doc. No. 08/23/2016. Upon the Panel granting remand of all MDL member cases, the Court will
28   treat these two actions as independent actions outside of the MDL.

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 1       8.   Santamaria v. Midland Funding, LLC, 14-cv-242-MMA (MDD)
 2       9.   Quevedo v. Midland Credit Management, Inc., 14-cv-381-MMA (MDD)
 3       10. Cooper v. Midland Credit Management, Inc., 14-cv-382-MMA (MDD)
 4       11. McDonald v. Midland Credit Management, Inc., 14-cv-689-MMA (MDD)
 5       12. Gilmore v. Midland Credit Management, Inc., 14-cv-861-MMA (MDD)
 6       13. Weisberger v. Midland Credit Management, Inc., 14-cv-1336-MMA (MDD)
 7       14. Jones v. Midland Credit Management, Inc., 14-cv-1337-MMA (MDD)
 8       15. Wentworth v. Midland Funding LLC, 14-cv-1355-MMA (MDD)
 9       16. Smith et al v. Midland Funding, LLC, 14-cv-1386-MMA (MDD)
10       17. Bretz v. Midland Credit Management Inc, 14-cv-1502-MMA (MDD)
11       18. Gruver v. Midland Credit Management, Inc., 14-cv-1559-MMA (MDD)
12       19. Dotson v. Midland Credit Management, Inc., 14-cv-1760-MMA (MDD)
13       20. Benarroch v. Midland Credit Management, Inc., 14-cv-1893-MMA (MDD)
14       21. Hill v. Midland Credit Management, Inc., 14-cv-1950-MMA (MDD)
15       22. Valliere v. Midland Credit Management, Inc., 14-cv-1960-MMA (MDD)
16       23. Shearer v. Midland Credit Management, Inc., 14-cv-2151-MMA (MDD)
17       24. Moya v. Midland Credit Management, Inc., 14-cv-2467-MMA (MDD)
18       25. Andrews v. Midland Credit Management, Inc., 14-cv-2506-MMA (MDD)
19       26. Love v. Midland Credit Management, Inc., 14-cv-2881-MMA (MDD)
20       27. King v. Midland Credit Management, Inc., 14-cv-2909-MMA (MDD)
21       28. Howard v. Midland Credit Management, Inc., 15-cv-170-MMA (MDD)
22       29. Glover v. Midland Credit Management, Inc., 15-cv-222-MMA (MDD)
23       30. Gaddis v. Midland Credit Management Inc, 15-cv-234-MMA (MDD)
24       31. Hall v. Midland Credit Management, Inc., 15-cv-503-MMA (MDD)
25       32. Mack v. Midland Credit Management, Inc., 15-cv-723-MMA (MDD)8
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      This action includes each of pro se Plaintiff David E. Mack’s 106 related member cases. As noted
28   above, the Court previously sua sponte consolidated his 106 member cases under one case number, 15-

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                                                                                   11-md-2286-MMA (MDD)
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 1      33. Farley v. Midland Credit Management, Inc., 15-cv-939-MMA (MDD)
 2      34. Cray v. Midland Credit Management Inc, 15-cv-1051-MMA (MDD)
 3      35. Basham v. Midland Funding, LLC, 15-cv-1479-MMA (MDD)
 4      36. Permenter v. Midland Credit Management, Inc., 15-cv-1644-MMA (MDD)
 5      37. Arora v. Midland Credit Management, Inc., 15-cv-1712-MMA (MDD)
 6      38. Basham v. Midland Funding, LLC, 15-cv-2282-MMA (MDD)
 7      39. Johnson v. Encore Capital Group, Inc., 13-cv-2477-MMA (MDD)
 8      40. Rumbough v. Capital One Bank (USA), N.A., 15-cv-2943-MMA (MDD)
 9      41. Zoubantis v. Midland Credit Management, Inc., 17-cv-376-MMA (MDD)
10      42. Cockman v. Midland Credit Management, Inc., 16-cv-1362-MMA (MDD)
11      43. Pugh v. Midland Credit Management, Inc., 16-cv-1977-MMA (MDD)
12      44. Eaton et al v. Midland Credit Management Inc, 16-cv-3025-MMA (MDD)
13      45. Gilbert v. Midland Funding LLC, 17-cv-115-MMA (MDD)
14      46. Boyd v. Midland Funding LLC, 17-cv-471-MMA (MDD)
15      47. Colacchia v. Midland Funding LLC, 17-cv-472-MMA (MDD)
16      48. Miller v. Midland Fundng LLC, 17-cv-473-MMA (MDD)
17      49. Duval v. Midland Funding LLC, 17-cv-475-MMA (MDD)
18      50. Cruz v. Midland Funding LLC, 17-cv-476-MMA (MDD)
19      51. Morris v. Midland Funding LLC, 17-cv-479-MMA (MDD)
20      52. Avesian v. Midland Funding LLC, 17-cv-482-MMA (MDD)
21      53. Richino-Brown v. Midland Funding LLC, 17-cv-483-MMA (MDD)
22      54. Lefler v. Midland Credit Management, Inc., 17-cv-504-MMA (MDD)
23      55. Spencer v. Midland Funding LLC, 17-cv-605-MMA (MDD)
24      56. Covington v. Midland Credit Management, Inc., 17-cv-784-MMA (MDD)
25      57. Little v. Midland Credit Management, Inc., 17-cv-975-MMA (MDD)
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     cv-723-MMA (MDD). See Doc. No. 572. The full list of Mack’s 106 cases can be found at Doc. No.
28   572-1 at 2–4.

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 1     58. Ramcharitar v. Midland Credit Management, Inc., 17-cv-976-MMA (MDD)
 2     59. Natalie Huffman v. Midland Credit Managment, Inc., 17-cv-1015-MMA (MDD)
 3     60. Prince v. Midland Funding LLC, 17-cv-1242-MMA (MDD)
 4     61. Negroni vs. Midland Credit Management, Inc., 17-cv-2522-MMA (MDD)
 5     62. Christian v. Credit One Bank, N.A., 18-cv-19-MMA (MDD)
 6     63. Lauderdale v. Midland Credit Management, Inc., 18-cv-483-MMA (MDD)
 7        IT IS SO ORDERED.
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 9   Dated: November 4, 2020
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